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 7 Attorneys for Defendant
 8                            UNITED STATES DISTRICT COURT
 9                                DISTRICT OF ARIZONA
10 Tysha Schmitz,                                  )         No. CV-21-01464-GMS
                                                   )
11               Plaintiff,                        )      NOTICE OF SERVICE OF
                                                   )      DEFENDANT’S INITIAL
12 v.                                              )     DISCLOSURE STATEMENT
                                                   )
13 Healthcare Revenue Recovery Group, LLC          )
   d/b/a/ ARS Account Resolution Services,         )
14                                                 )
                Defendant.                         )
15                                                 )
16         NOTICE IS HEREBY GIVEN that attorneys for Defendant Healthcare Revenue

17 Recovery Group, LLC d/b/a ARS Account Resolution Services (“HRRG”), through
18 counsel undersigned, emailed its Initial Disclosure Statement to counsel for Plaintiff,
19 Tysha Schmitz on this date.
20         DATED this 3rd day of January, 2022.
21                                                HINSHAW & CULBERTSON LLP
22
23                                                /s/ Bradley L. Dunn
                                                  Bradley L. Dunn
24                                                Megha Singh
                                                  Attorneys for Defendant
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1                             CERTIFICATE OF SERVICE
2        I certify that on the 3rd day of January, 2022, I electronically transmitted the
  attached document to the Clerk’s Office using the CM/ECF System for filing and
3 transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
4 David J. McGlothlin, Esq
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10 By /s/ Tammy Rivera
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